Case 1:12-cr-00001-IMK-JSK Document 65 Filed 03/21/12 Page 1 of 2 PageID #: 282



                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

                  Plaintiff,

      v.                            //          CRIMINAL NO. 1:12CR1
                                                    (Judge Keeley)

HARVEY BREWER and
TASHA SHELEKA SAUNDERS,

                  Defendant.


             SUMMARY ORDER FOLLOWING PRETRIAL CONFERENCE

      On March 20, 2012, the parties came before the Court for a

pretrial conference. For the reasons stated on the record of that

hearing, the Court:

      1.    STRUCK Shirland L. Fitzgerald from the list of witnesses

            for the case-in-chief of the United States, thereby

            GRANTING-IN-PART the defendant Harvey Brewer’s Motion to

            Strike or, in the Alternative, for a Continuance of Trial

            (dkt. no. 59) and the defendant Tasha Sheleka Saunders’

            Motion to Strike (dkt. no. 60);

      2.    OVERRULED the defendant Harvey Brewer’s objections (dkt.

            no. 62) to the March 16, 2012 Opinion and Report and

            Recommendation (“R&R”) of the magistrate judge (dkt. no.

            54), ADOPTED the R&R in its entirety (dkt. no. 54), and

            DENIED the defendants’ Motion in Limine to Exclude Video

            and Still Photographs from the Best Western Hotel (dkt.
Case 1:12-cr-00001-IMK-JSK Document 65 Filed 03/21/12 Page 2 of 2 PageID #: 283



USA v. HARVEY BREWER AND TASHA SHELEKA SAUNDERS                      1:12CR1

             SUMMARY ORDER FOLLOWING PRETRIAL CONFERENCE

            no.   39),   provided     the   United   States   presents    the

            testimony     necessary    to    properly    authenticate     the

            materials at trial.

      It is so ORDERED.

      The Court DIRECTS the Clerk to transmit copies of this Order

to counsel of record.

DATED: March 21, 2012.


                                    /s/ Irene M. Keeley
                                    IRENE M. KEELEY
                                    UNITED STATES DISTRICT JUDGE




                                       2
